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                     IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VANESSA YANEZ,                                                      )
    Plaintiff,                                                      )   No. 2015-CV-8676
                                                                    )
                v.                                                  )   Hon. Judge Shadur
                                                                    )
NEIGHBORHOOD ADJUSTERS, INC., NEIGHBORHOOD                          )   Hon. Magistrate Judge Cox
RESTORATION COMPANY, BM TAXES &                                     )
ACCOUNTING, P.C., MICHAEL D. FLORES, ROBERT                         )
FLORES, AND BEATA NIEMIEC,                                          )
     Defendants.                                                    )

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO
                  ENFORCE SETTLEMENT AGREEMENT

         NOW COME Defendants NEIGHBORHOOD RESTORATION COMPANY (“NRC”),

NEIGHBORHOOD ADJUSTERS, INC., MICHAEL FLORES, and ROBERT FLORES

(collectively, “Defendants”), by and through their attorneys, SmithAmundsen, and in opposition

to Plaintiff’s Motion to Enforce Settlement Agreement, state as follows:

                                        INTRODUCTION

         Plaintiff’s Motion to Enforce is unfounded and improper. While it is true the Parties have

made substantial progress in executing a settlement agreement, final client approval and

execution of a written agreement remains pending.           There is not an executed settlement

agreement. Moreover, notwithstanding that Plaintiff should not have filed a draft version of the

Parties’ confidential settlement agreement – and Defendants requested that Plaintiff promptly

remove the filing – the document Plaintiff attached was not the updated version of the

Agreement, which Plaintiff’s counsel stated was the version he forwarded for his client’s review.

Based on Plaintiff’s filing, it is not clear that Plaintiff has even reviewed the most recent version

of the settlement document that was in place just prior to the developments with the IRS tax levy

issue.
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         In good faith, Defendants are seeking determination of a pending legal dispute to allow

the Parties to finalize and execute a settlement agreement. Out of respect for Plaintiff’s prior

indication that this was a sensitive matter that counsel would only discuss in chambers and off

the record, Defendants attempted to resolve this directly with Plaintiff’s counsel.         After

determining that judicial intervention was necessary, Defendants requested to address this matter

under seal. Resolution of this important legal issue will allow the Parties to execute settlement.

There has been no breach of any agreement and certainly not the proposed draft version Plaintiff

attached to her Motion to Enforce.

                                         ARGUMENT

I.       PLAINTIFF DID NOT EVEN SIGN THE MOST RECENT VERSION OF THE
         PARTIES’ DRAFT SETTLEMENT DOCUMENT.

         Defendants have not engaged in any conduct in breach of any purported settlement

agreement. As a preliminary matter, it is unclear what Plaintiff considers to be a “binding and

enforceable agreement.”      Indeed, the version Plaintiff signed is a prior draft proposal

promulgated by Plaintiff, which was subsequently revised by the Parties while negotiating a

settlement agreement. This is not the most recent draft exchanged between or discussed by the

Parties. Defendants are deeply concerned by Plaintiff’s representation that Defendants agreed to

the settlement agreement Plaintiff signed, when the sequence of communications clearly

establishes otherwise.

         In Plaintiff’s response to Defendants’ Motion to File under Seal [Doc. 110, at ¶7],

Plaintiff actually highlights the flaws with her instant Motion to Enforce. Plaintiff’s counsel

acknowledges there were ongoing revisions and claimed that on April 6, 2016 he sent the latest




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version to his client. (Doc. 110, at ¶7). Plaintiff’s counsel then represented Plaintiff signed the

document.1 (Id. at ¶8).

        Plaintiff failed to provide this Court with the version of the document that was actually

attached to the referenced April 6, 2016 email communication.                  Inasmuch as the Parties’

contemplated confidentiality during settlement negotiations, Defendants include the correct

attachment to the April 6, 2016 email, labeled as Exhibit A, for in camera review. For ease of

comparison, Defendants also include Plaintiff’s initial proposal sent on March 31, 2016, labeled

as Exhibit B, for in camera review. There is no mistake that Plaintiff signed her initial proposal,

which Defendants did not agree to, and even Plaintiff’s counsel acknowledges was subsequently

revised in an attempt to reach a final agreement on a settlement document. (Doc. 110, at ¶7).

        Lastly, Plaintiff conveniently left out of her representation to this Court that Defense

counsel sent a communication to Plaintiff’s counsel on the morning of April 6, 2016 stating they

would review the updated version with their client to confirm agreement, and would be back in

touch if additional adjustments were needed. The relevant exchange is provided below:

        Jonathan,

        I have reviewed the last version of the document that you shared. After accepting all
        edits, it has some minor cosmetic issues, e.g. extra "the" in "the Yanez" here and there,
        extra full stop (period) and a missing space. Rather than share another iteration, I have
        sent a pdf copy of it to Ms. Yanez (attached) and recommended that she sign it.

        I'm meeting with her at 5 pm today. Unless she requests additional time to review the
        document and/or proposes further changes, it is my intent to request her to sign it today.
        If you expect to share another revision, please get it to me by 2pm so I can review it and
        share it with her.

        On Wed, Apr 6, 2016 at 8:56 AM, Hoag, Jonathon <JHoag@salawus.com> wrote:

        Eric,



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 A signed document was not provided to Defendants until such time as Plaintiff improperly attached it to
her April 12, 2016 court filing [Doc. 108, Ex. 1].

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       We will also review this updated version with our client and will confirm. I did note in
       your revisions to Paragraph 4 that in addition to removing the affirming statements
       from you, part of the statement from Ms. Yanez was deleted. The language is only with
       respect to Ms. Yanez and it is needed to be clear that all Company property and
       information has been returned. I have already made that adjustment (see attached)
       and I will let you know if there are any other adjustments needed after we review with
       our client, but I anticipate we are at the end here.

       Thank you,

       Jon

       Jonathon Hoag
       Partner
       SmithAmundsen LLC
       3815 E. Main Street, Suite A-1, St. Charles, IL 60174
        Phone (630) 587-7914 | Fax (630) 587-7443 |  JHoag@salawus.com |
        http://www.salawus.com
        Please consider the environment before printing this e-mail
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       message is not the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
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       telephone and return the original message to us at the above address via email or the United States Postal Service.
       Thank you.


Shortly after this communication, Defense counsel did provide an immediate follow-up to

Plaintiff’s counsel upon learning that the updated agreement needed further adjustment due to

legal concerns with the IRS tax levy. The relevant exchange is provided below:


       On Friday, April 8, 2016, <Michael_La_Mare@ilnd.uscourts.gov> wrote:
       Mr. Onyago:

       As per this Court's last minute order, the referral in this action was terminated and the
       case was returned to Judge Shadur. If you would like to move to reinstate the case, that
       motion will have to be noticed before Judge Shadur. Once the case is reinstated, Judge
       Shadur can decide whether or not he wants to refer the matter back to Judge Cox to work
       through the settlement issues you have. Simply put, this case is no longer before Judge
       Cox. Additionally, Judge Cox is not in chambers today and is not sitting April 11-13
       (http://www.ilnd.uscourts.gov/judge-info.aspx?AAMMMLT83kE=), so we would not be
       able to hold a phone conference in any event.

       Thank you,
       Mike La Mare

       Michael J. La Mare
       Law Clerk to U.S. Magistrate Judge Susan E. Cox
       United States District Court for the Northern District of Illinois

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    219 S. Dearborn Street, Room 1068
    Chicago, IL 60604
    (312)-435-6025
    Michael_La_Mare@ilnd.uscourts.gov


    From:      Eric Onyango <eriquelaw@gmail.com>
    To:      Michael_La_Mare@ilnd.uscourts.gov
    Cc:      proposed_order_cox@ilnd.uscourts.gov, "Frank, Noah A." <NFrank@salawus.com>, James Vanzant
    <james.g.vanzant@gmail.com>, "Medrano, Sulema" <Smedrano@salawus.com>, "Hoag, Jonathon"
    <JHoag@salawus.com>
    Date:      04/08/2016 02:07 PM
    Subject:     Fwd: Yanez v. NRC 15-cv-8676



    Dear Judge Cox,

    On 4/7/16, Ms. Yanez executed the settlement agreement that the Defendants tendered to
    us in Court on 4/6/16. We received the communication below from Ms. Medrano, which
    we understand to mean that NRC believes it has a duty to report not just on payments to
    Ms. Yanez at the end of the year on Form 1099-MISC, but to preemptively provide the
    IRS with a copy of the confidential settlement agreement pursuant to an expired levy that
    was issued in July 2015.

    We do not believe that the Defendants have any legal duty to contact any agent of the
    IRS pursuant to the expired levy, and that their only duty is to report payments made to
    Ms. Yanez when they file their quarterly (or yearly) returns as the case might be.

    We have requested a copy of the authority that Defendants rely on for their position, but
    have not received a response and have no reason to believe that they will provide one.

    Defendants' position could interfere with Ms. Yanez' on-going efforts to resolve her
    issues with the IRS and could jeopardize the entire agreement.

    We are writing to request assistance through a phone conference with this matter to help
    us move forward without additional unnecessary litigation.

    Please let us know if you can help mediate this issue. We appreciate your time in
    advance.


    ---------- Forwarded message ----------
    From: Medrano, Sulema <SMedrano@salawus.com>
    Date: Friday, April 8, 2016 11:58 AM
    Subject: RE: Checks to Greystone entities [IWOV-Active.FID428318]
    To: Eric Onyango <eriquelaw@gmail.com>, "Hoag, Jonathon" <JHoag@salawus.com>
    Cc: "Frank, Noah A." <NFrank@salawus.com>

    Eric,




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       We received a response from our tax team regarding our client’s responsibility to report the
       settlement in this matter. It is their opinion that NRC must contact the IRS agent that issued the
       Levy and inform them of the settlement agreement. With that said, we cannot agree to
       paragraph 8 of the draft settlement release. Please contact me to discuss this matter further. I
       am available until 2:00 pm this afternoon.

       Sulema Medrano
       SmithAmundsen LLC

       150 North Michigan Avenue, Suite 3300, Chicago, Illinois 60601


       Phone (312) 894-3244 | Fax (312) 997=1722 | smedrano@salawus.com | http://www.salawus.com


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       In short, prior to addressing this matter with the Court, Defendants attempted to reach a

final settlement agreement to incorporate Defendants’ legitimate concern about the IRS tax levy.

At all times, the Parties contemplated that confidentiality would not apply if communications or

disclosures were required by law.                    The Parties dispute NRC’s specific legal obligations,

demonstrating that the settlement agreement had not been finalized. Thus, judicial intervention

has been requested to resolve this narrow, but important legal dispute.

II.    PLAINTIFF FAILS TO IDENTIFY ANY BREACH.

       Setting aside that Plaintiff has not identified a specific settlement agreement reached by

the Parties, Plaintiff also fails to identify any breach. Plaintiffs’ Motion to Enforce does not

identify a breach. Plaintiff sets forth an argument stating “if NRC breaches its agreement….”

(Doc. 108, at ¶20) (emphasis added).                      Defendants are not even threatening to breach any

agreement. Indeed, Defendants are attempting to finalize a settlement agreement that accurately

reflects NRC’s legal obligations under the IRS tax levy.                     The Parties actively dispute the

applicability of the July 2015 tax levy to the Parties’ settlement. This is precisely the reason

Defendants believe the prudent course is to proactively resolve this actual and live dispute with




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the Court. Defendants’ Motion to Adjudicate Tax Levy2 clearly establishes that Defendants want

to resolve this real controversy before executing the agreement to ensure legal obligations are

properly incorporated into the Parties’ agreement.

        On March 31, 2016, Defense counsel advised that it appeared the tax levy may be

expired, but it was obtaining additional input from tax attorneys. Defendants communicated they

intended to maintain confidentiality, unless required to communicate the settlement or make

disclosures by law, and they were actively reviewing those obligations in more detail. While

negotiating terms for the settlement agreement, Defendants incorporated this position by

clarifying that Plaintiff’s proposed Paragraph 8 was not intended, nor should it be construed to

prohibit obligations required by law. (See, Exhibit A at ¶8). This was in addition to language in

the confidentiality provision acknowledging that disclosing the settlement agreement is permitted

as required by law. (See, Exhibit A at ¶5).

        On April 8, 2016, Defense counsel communicated that Paragraph 8 of the draft agreement

should be removed in light of specific information indicating NRC still had legal obligations

under the July 2015 tax levy. Plaintiff’s counsel asserts there are no legal obligations under the

July 2015 tax levy. Plaintiff’s counsel further states that Plaintiff has reached an agreement with

the IRS, and contradictorily that any communication from Defendants “could interfere with Ms.

Yanez' on-going efforts to resolve her issues with the IRS and could jeopardize the entire

agreement” (see, Attorney Onyango’s email to Judge Cox, supra). It seems that Plaintiff should

be able to provide the necessary proof from the IRS that the issues under the July 2015 IRS tax

levy have been resolved and NRC has no legal obligations thereunder. To date, Defendants have


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  This is the motion which Defendants sought leave to file under seal (Doc. 106). While Plaintiff’s
publishing the issue through her filings (Docs. 108-115) may have obviated the need to file under seal,
out of an abundance of caution, the Defendants await the Honorable Court’s determination of whether
their motion should be filed publically or under seal.

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not received any such confirmation, and as such face real and substantial risk of failing to

comply with the July 2015 IRS tax levy. Consequently, there is a live and real controversy about

the Parties’ legal obligations related to disbursement of the settlement amounts.

        Defendants do not seek an advisory opinion. The current dispute is not based on a

hypothetical set of facts. The dispute relates to legal obligations under the July 2015 tax levy

and relates to how settlement proceeds to this matter are to be handled under the law. In

opposing Defendants’ reasonable request that the Court resolve this live controversy, Plaintiff

suggests that if Defendants contact the IRS, they then risk legal action for making such contact.

(Doc. 115 at ¶5). It seems strange that Plaintiff would be so resistant to the Court rendering its

determination, which would protect all Parties from subsequent IRS action under the tax levy;

instead, Plaintiff’s counsel threatens that Defendants’ seeking a determination by the Court

amounts to bad faith in settlement – despite Defendants’ willingness to pay the settlement

proceeds into the Clerk of Court or other means of escrow pending resolution of this legal issue3.

As such, Defendants properly seek a declaration from this Court on this legal issue before such

time as an adversary sees fit to begin suit, after damage has accrued. NUCOR Corp. v. Aceros Y

Maquilas de Occidente, S.A. DE C.V., 28 F.3d 572, 577 (7th Cir. 1994) (recognizing that judicial

intervention is proper “to avoid accrual of avoidable damages to one not certain of his rights and




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  Both Judge Cox and this Honorable Court recognized that the Parties were able to reach settlement and
were working out a final settlement agreement. This demonstrates good faith progress towards
settlement, contrary to Plaintiff’s sudden cry of bad faith. To Defendants’ knowledge, claims of bad faith
were never raised before Judge Cox. Indeed, Defendants continued to engage in discussion with Plaintiff
regarding specific language of the settlement agreement while the IRS tax levy issue was investigated.

It is simply curious that Plaintiff now seeks to force settlement upon Defendants – and threaten further
legal action if the IRS tax levy is addressed. Defendants struggle with wrapping their minds around why
Plaintiff does not want this issue resolved. If she is correct – then there is no further issue, and the Parties
may go their separate ways by signing the settlement agreement. But, if she is not correct – then there is a
real and substantial risk to NRC which must be resolved.

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to afford him an early adjudication, without waiting until his adversary should see fit to begin

suit, after damage had accrued.”).

                                             CONCLUSION

         Defendants seek judicial intervention to determine what, if any, obligations are due so

that the Parties may finalize settlement and terminate this matter.

         WHEREFORE, Defendants respectfully request that this Honorable Court enter an

Order:

         A. Denying Plaintiff and Greystone Restoration, Inc.’s Motion to Enforce (Doc. 108);

         B. Granting Defendants’ Motion to Adjudicate Levy and issue an Order that either (1)

            the July 13, 2015 IRS tax levy is active, and NRC has an obligation to contact the IRS

            to determine how much, if any, of the settlement proceeds must be surrendered

            subject to that tax levy; or (2) The July 13, 2015 IRS tax levy is expired, and NRC

            has no further obligation under the Levy and has no further liability under the tax

            levy, and as a result, the settlement proceeds may be paid directly to Yanez as

            contemplated by the confidential draft settlement agreement;

         C. Enforcing the final settlement agreement exchanged between the Parties (Exhibit A),

            subject to the Court’s determination of the July 2015 IRS tax levy; and

         D. Awarding Defendants such further relief as is necessary and just.


                                              Respectfully Submitted,

                                      By:     s/ Jon D. Hoag
                                              One     of    the Attorneys for Defendants
                                              NEIGHBORHOOD RESTORATION COMPANY,
                                              NEIGHBORHOOD ADJUSTERS, INC., MICHAEL
                                              FLORES, and ROBERT FLORES




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                    IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VANESSA YANEZ,                                                    )
    Plaintiff,                                                    )     No. 2015-CV-8676
                                                                  )
               v.                                                 )     Hon. Judge Shadur
                                                                  )
NEIGHBORHOOD ADJUSTERS, INC., NEIGHBORHOOD                        )     Hon. Magistrate Judge Cox
RESTORATION COMPANY, BM TAXES &                                   )
ACCOUNTING, P.C., MICHAEL D. FLORES, ROBERT                       )
FLORES, AND BEATA NIEMIEC,                                        )
     Defendants.                                                  )

                                CERTIFICATE OF SERVICE

        I, Jon D. Hoag, an attorney, hereby certify that on April 14, 2016, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to all CM/ECF participants, and I hereby certify that I have mailed by United
States Postal Service the document to any non CM/ECF participants.


                                              Respectfully Submitted,

                                     By:      s/ Jon D. Hoag
                                              One     of    the Attorneys for Defendants
                                              NEIGHBORHOOD RESTORATION COMPANY,
                                              NEIGHBORHOOD ADJUSTERS, INC., MICHAEL
                                              FLORES, and ROBERT FLORES


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